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             EXHIBIT C
12/28/2016       1 : 31 : 00
                           PM                        Dunlap,        Melissa                         BCBSM               Page       1
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        Fax
                                                                                                            ESS



                                                  BCBSM Subrogation Unit


 Date:                         12/28/2016


 Number of pages:
                               19
 (including cover sheet)


 To:                           Melanie Duda                            From:                Dunlap, Melissa



 Company:                                                              Title:               Subrogation Assistant


 Fax:                          (248) 355-5148                          Fax:                 877-257-2012


 Phone:                                                                Phone:               517-325-4658


                               Re: Milda Mattilda; Our File #2935026-1216
 Notes/Comments:




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                                                                                 Office of the General Counsel
                            Blue Cross                                           Subrogation Department
                            Blue Shield                    Please note our new
                                                                                 232 S. Capitol Ave., L09A
        m                   of Michigan
                                                           contact information
                                                                                 Lansing, Michigan 48933-1504
            \<s>                                                                 <517)325-4658
                                                                                 FAX No. <877)257-2012
        A nonprofit corporation and independent licensee                         E-mail: PChurchlii@bcbsm.com
        of the Blue Cross and Blue Shieid Association


      December 28, 2016




      [Fax: Melanie Duda@(248) 355-5148]


      Melanie Duda
      Fieger Fieger Kenney & Harrington PC
      19390 W Ten Mile Rd
      Southfield, MI 48075


      Re:          Our Member: Milda Mattila               CURRENT LIEN AMOUNT: $51,175.92
                   Our File #: 2935026-1216                PAID CLAIMS DETAIL ENCLOSED
                   Your File#: 13106


      Dear Melanie Duda:


      In reference to the above captioned matter, we have reviewed our claims database and have added new
      services paid on behalf of your client. Please review the enclosed Paid Claims Detail, which itemizes these
      expenses, to be sure the included services and pharmaceuticals are related to the injury.


      Should you have any questions, please do not hesitate to contact me.

      Very truly yours,




      Phillip Churchill, Jr.
      Assistant General Counsel
      Blue Cross Blue Shield of Michigan
